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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
    GRISEL XAHUENTITLA,
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and
    DEMETRIO VALERGA
    on their own behalf and on behalf of all others
    similarly situated,
                               Plaintiffs,

             v.

    THE GEO GROUP, INC.,

                                  Defendant.


  DECLARATION OF MICHAEL J. SCIMONE IN SUPPORT OF PLAINTIFFS’
  OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FOR FAILURE TO
                     JOIN REQUIRED PARTY

        I, Michael J. Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

 perjury as follows:

        1.        I am a Partner with the law firm Outten & Golden LLP, which, together

 with Towards Justice, the Law Office of R. Andrew Free, Milstein Law Office, The

 Kelman Buescher Firm, P.C., and Meyer Law Office, P.C., are Class Counsel in this

 action. I am an attorney in good standing admitted to practice before this Court.

        2.        I have been one of the lawyers primarily responsible for the prosecution of

 Plaintiffs’ and the Class’s claims in this case.
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        3.     I make the statements in this Declaration based on my personal knowledge

 and would so testify if called as a witness at trial.

 Discovery and ICE Subpoenas

        4.     The Class in this case was certified on February 27, 2017, and the Tenth

 Circuit affirmed class certification in February 2018. GEO moved for rehearing en banc,

 which was denied on March 5, 2018, and petitioned the U.S. Supreme Court for a writ of

 certiorari, which was denied on October 1, 2018. Classwide discovery followed

 throughout 2018, 2019 and most of 2020, with both parties exchanging document

 requests and interrogatories, and taking depositions of 30(b)(6) and fact witnesses. The

 final cutoff for fact and expert discovery was August 14, 2020.

        5.     In addition to seeking discovery from GEO, Plaintiffs served several

 subpoenas on ICE for information relating to this case, including a subpoena for Fed. R.

 Civ. P. 30(b)(6) testimony and a subpoena for documents served on March 22, 2019.

        6.     These subpoenas sought information about, inter alia, (1) documents and

 communications relating to ICE standards or requirements for the operation of the Aurora

 Facility relating to detainee labor, (2) documents and communications related to this

 litigation, (3) documents and communications relating to ICE’s contract with GEO as it

 pertains to detainee labor at the Aurora detention facility, and (4) documents and

 communications relating to ICE’s oversight of GEO’s performance of the Aurora Facility

 contract.

        7.     Pursuant to Plaintiffs’ subpoenas, as well as other discovery issues that

 implicated documents and information within ICE’s custody, the parties have met and


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 conferred with ICE, both by telephone and through regular correspondence, throughout

 the last year and a half.

        8.     In response to Plaintiffs’ subpoenas, ICE has to date produced nearly

 13,000 pages of documents as well as declarations by ICE witnesses in lieu of ICE

 testimony, and has facilitated an in-person inspection of the Aurora detention facility as

 well as produced several hundred photographs taken during that inspection.

 Exhibits

        9.     Attached hereto as Plaintiffs’ Opposition Exhibit 1 is Plaintiffs’ Response

 to GEO’s Statement of Facts.

        10.    Attached hereto as Plaintiffs’ Opposition Exhibit 2 is a true and correct

 copy of excerpts from the March 29, 2016 30(b)(6) deposition of Dawn Ceja.

        11.    Attached hereto as Plaintiffs’ Opposition Exhibit 3 is a true and correct

 copy of a March 7, 2018 letter to Attorney General Jefferson B. Sessions, Secretary of

 Labor Alexander Acosta, and Acting Director of ICE Thomas D. Homan from

 Representative Steve King of Iowa and 17 other signatories, titled “Recent Lawsuits

 Seeking Substantial Payments to Alien Detainees for Voluntary Institutional Work

 Performed while in Immigration Detention at Contract Detention Facilities.”

        12.    Attached hereto as Plaintiffs’ Opposition Exhibit 4 is a true and correct

 copy of excerpts from the July 21, 2020 deposition of David Venturella.

        13.    Attached hereto as Plaintiffs’ Opposition Exhibit 5 is a true and correct

 copy of the Order on Defendant the GEO Group, Inc’s Motion to Dismiss Class Action

 Complaint for Damages, ECF No. 28 in Chao Chen v. GEO Group, Inc., No. 17 Civ.


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 5769 (W.D. Wash. Dec. 6, 2017).

       14.    Attached hereto as Plaintiffs’ Opposition Exhibit 6 is a true and correct

 copy of the Order Denying Defendant’s Motion to Dismiss, ECF No. 61 in Novoa v.

 GEO Group, Inc., No. 17 Civ. 2514 (C.D. Cal. Aug. 22, 2018).

       15.    Attached hereto as Plaintiffs’ Opposition Exhibit 7 is a true and correct

 copy of a February 14, 2018 letter to Acting Director of ICE Thomas D. Homan from

 GEO’s Senior Vice President for Business Development, titled “Request for Equitable

 Adjustment in the Amount of $2,057,000 and Legal Assistance from ICE/DOJ.”

       16.    Attached hereto as Plaintiffs’ Opposition Exhibit 8 is a true and correct

 copy of the transcript from the October 18, 2019 discovery hearing in Menocal v. GEO

 Grp., Inc., No. 14 Civ. 2887 (D. Colo.).

       17.    Attached hereto as Plaintiffs’ Opposition Exhibit 9 is a true and correct

 copy of an October 11, 2019 letter from Anne M. Rose to Michael J. Scimone titled Re:

 Menocal et al. v. The Geo Group, Inc., 14-cv-02297 (D.Colo.).

       18.    Attached hereto as Plaintiffs’ Opposition Exhibit 10 is a true and correct

 copy of the Statement of Interest of the United States, ECF No. 185 in Washington v.

 GEO Grp., Inc., No. 17 Civ. 5769 (W.D. Wash. Aug. 22, 2019).

       19.    Attached hereto as Plaintiffs’ Opposition Exhibit 11 is a true and correct

 copy of the Brief for the United States as Amicus Curiae in Support of Neither Party,

 Ahmed v. CoreCivic, Inc., No. 18-15081 (11th Cir. Apr. 1, 2019).

       20.    Attached hereto as Plaintiffs’ Opposition Exhibit 12 is a true and correct

 copy of excerpts from the October 9, 2019 deposition of Amber Martin.


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 Dated: New York, NY                      Respectfully submitted,
        October 26, 2020
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